  4:17-cr-03038-JMG-CRZ Doc # 90 Filed: 03/19/18 Page 1 of 2 - Page ID # 503



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

United States of America,

                   Plaintiff,                        4:17-CR-3038

vs.                                                     ORDER

Michael Wayne Parsons,

                   Defendant.

      This matter is before the Court on the Magistrate Judge's Findings,
Recommendations and Orders of February 7, 2018 (filing 51) and the
defendant's pro se objection (filing 68). The Court has conducted a de novo
review of the Magistrate Judge's findings and recommendations regarding
the defendant's motions to suppress and motions to dismiss, see filing 50, and
agrees with the Magistrate Judge's conclusion that those motions lack merit.
See 28 U.S.C. § 636(b)(1)(B); Branch v. Martin, 886 F.2d 1043, 1045-46 (8th
Cir. 1989). The Court has reviewed the balance of the Magistrate Judge's
orders on nondispositive matters, and finds that they were neither clearly
erroneous nor contrary to law. See 28 U.S.C. § 636(b)(1)(A); Ferguson v.
United States, 484 F.3d 1068, 1076 (8th Cir. 2007). Accordingly, the findings
and recommendations (filing 51) will be adopted and the defendant's
objection (filing 68) will be overruled.
      The Court has also reviewed the defendant's pro se objection (filing 53)
to the Magistrate Judge's order of January 23, 2018 (filing 46) regarding
discovery issues. Having reviewed that order, the Court finds that it was
neither clearly erroneous nor contrary to law. See § 636(b)(1)(A); Ferguson,
     4:17-cr-03038-JMG-CRZ Doc # 90 Filed: 03/19/18 Page 2 of 2 - Page ID # 504



484 F.3d at 1076.1 In addition, the discovery issues presented have largely
been mooted by appointment of defense counsel. See filing 87. Accordingly,
the defendant's objection (filing 53) will be overruled.


         IT IS ORDERED:


         1.     The defendant's objection (filing 53) is overruled.


         2.     The Magistrate Judge's findings and recommendations
                (filing 51) are adopted.


         3.     The defendant's objection (filing 68) is overruled.


         Dated this 19th day of March, 2018.


                                                    BY THE COURT:



                                                    John M. Gerrard
                                                    United States District Judge




1   Although the defendant's objection seeks suppression of evidence, filing 53 at 2, no motion
to suppress was before the Magistrate Judge, see filing 45. The Magistrate Judge's order
addressed only nondispositive matters, so the Court's standard of review is deferential.


                                              -2-
